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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


      UNITED STATES                                             No. 3:18CR311 (JCH)

              v.
                                                                USM No. 26132-014
      ANINHYA SPEAR-ZULETA


                                                                Allison Murray Near & Moira
                                                                Buckley
                                                                Defendant’s Attorneys

     Date of Original Judgment: 4/29/2021


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO THE FIRST STEP ACT

        Upon motion of the defendant, pursuant to the First Step Act, Pub. L. 115-391, 132 Stat. 5194

(2018), it is ordered that the consent motion (355) is granted and the defendant’s previously imposed

sentence of imprisonment (as reflected in the last judgment issued) of 1 year 1 month is reduced to time

served with special condition of halfway house confinement until January 28, 2022. Extraordinary and

compelling reasons are presented to the court under seal, and the 3553a factors weigh in favor of release

under these circumstances. Ms. Spear-Zuleta is not a danger to the community. The defendant’s term of

supervised release of 3 years shall remain in effect and with the special conditions imposed. Special

Assessment in the amount of $100 is to be paid immediately, to the extent not already paid.

      Except as otherwise provided, all provisions of the judgment dated 4/29/2021 shall remain in effect.

SO ORDERED.

      Dated at New Haven, Connecticut, this 28th day of December 2021.

                                                               /s/
                                                        Janet C. Hall
                                                        United States District Judge
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SPECIAL CONDITIONS



1. The defendant shall complete 100 hours of community service within the first year of supervision.

     The community service hours shall be completed at a program approved, in advance, by the United

     States Probation Office. The Probation Office will supervise the defendant’s participation in the

     community service program by approving the program. The defendant shall provide written

     verification of completed community service hours to the Probation Office.


2. The defendant shall participate in a program for outpatient mental health treatment. The defendant

     shall follow all rules and regulations of that program. The Probation Office, in consultation with the

     treatment provider, shall supervise the defendant’s participation in the program. The Defendant shall

     pay all or a portion of costs associated with treatment based on his ability to pay as recommended by

     the Probation Office and approved by the Court.



3.   The defendant shall not have any contact with Ronald Christopher Spear-Zuleta, including physical

     contact, by phone, text messages, the internet, or social media, without prior approval from the

     Probation Office.




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                                                     CONDITIONS OF SUPERVISED RELEASE

In addition to the Standard Conditions listed below, the following indicated ( ) Mandatory Conditions are imposed:

                                                                MANDATORY CONDITIONS

(1)       You must not commit another federal, state or local crime.

(2)       You must not unlawfully possess a controlled substance.

(3)       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
          imprisonment and at least two periodic drug tests thereafter, as determined by the court.

                  ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
          substance abuse. (check if applicable)

(4)       ☐ You must make restitution in accordance with 18 U.S.C.§§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)

(5)       (( )) You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

(6)       ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work, are
          a student, or were convicted of a qualifying offense. (check if applicable)

(7)       ☐ You must participate in an approved program for domestic violence. (check if applicable)

                                                                 STANDARD CONDITIONS

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

(1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
imprisonment, unless the probation officer instructs you
to report to a different probation office or within a different time frame.
(2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must report
to the probation officer, and you must report to the probation officer as instructed.
(3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or the
probation officer.
(4) You must answer truthfully the questions asked by your probation officer.
(5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such as
the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance is
not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.
(6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any items
prohibited by the conditions of your supervision that he or she observes in plain view.
(7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If you do
not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you plan to change
where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the
probation officer within 72 hours of becoming aware of a change or expected change.
(8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a felony,
you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
(9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
(10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
(11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting the
permission of the court.
(12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to notify
the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you have notified the
person about the risk.
(13) You must follow the instructions of the probation officer related to the conditions of supervision.




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 Upon a finding of a violation of supervised release, I understand that the court may (1) revoke supervision and
 impose a term of imprisonment, (2) extend the term of supervision, and/or (3) modify the conditions of
 supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of
 them.



(Signed)

            Defendant                                                     Date




            U.S. Probation Officer/Designated Witness                     Date




 CERTIFIED AS A TRUE COPY ON THIS DATE: ______________________

 By: ___________________________

           Deputy Clerk




 RETURN

 I have executed this judgment as follows:

 Defendant delivered on _______________ to ______________________________ a __________________________,
 with a certified copy of this judgment.




                                                                  Lawrence Bobnick

                                                                  Acting United States Marshal

                                                             By

                                                                  Deputy Marshal




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